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                                                    January 19, 2022

Honorable Alison J. Nathan
United States District Judge
United States Courthouse
40 Foley Square
New York, NY 10007

                               Re: United States v. Ghislaine Maxwell
                                          S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

       Today, counsel for Ghislaine Maxwell filed her Motion for a New Trial (the “Motion”) and

accompanying exhibits under seal. For the reasons set forth in the Motion, we request that all

submissions pertaining to Juror No. 50 remain under seal until the Court rules on the Motion.


                                                    Respectfully Submitted,

                                                    /s/

                                                    BOBBI C. STERNHEIM

cc: All Counsel of Record
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